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James F. Valentine & Associates
FIRE INVESTIGATIONS & FORENSIC SCIENCES

Corporate Office:                                                         Tel: (888) 273-6644
P.O. Box 1160                                                             Fax: (856) 782-7031
300 Thomas Avenue, Building 401                                           info@valentineassoc.com
Williamstown, NJ 08094                                                    www.FireInvestigations.com

                                  ORIGIN AND CAUSE INVESTIGATOR
                                         ALEX PROFKA, CFI
                                              Jessup, PA
                                      AProfka@ValentineAssoc.com

       PROFESSIONAL EXPERIENCE:

       2004 – Current                               Certified Fire Investigator. Responsible for;
              Fire Investigator                     examinations, documentation and preservation of fire
              Valentine & Associates                scenes and evidence as well as scene diagramming, to
                                                    determine the origin and causation of fires.

       1991 – 2004                                  Responsible for; examinations, documentation and
              Fire Investigator                     preservation of fire scenes and evidence as well as
              Bieber & Associates (Moosic,          scene diagramming, to determine the origin and
              PA)                                   causation of fires.



       1973 - 1991                                  Responsibilities include the examination of fire scenes
              Criminal Intelligence Unit            to determine origin and cause of fire. Preparation and
              (1974-1976)                           execution of search warrants, evidence collection,
               Fire Marshal Unit (1976-1991)        interviews and interrogations of suspects and the
              Pennsylvania State Police             examination of financial documents.
              (Troop R, Dunmore, PA)

       1964 - 1973                                  Conducted criminal investigations, collection and
              Pennsylvania State Police             processing of forensic evidence from crime scenes in
              (Troop L, Reading, PA)                addition to serving warrants and criminal citations.
              Criminal Investigation Section
              (1968-1973)


       SPECIAL QUALIFICATIONS:

             Investigated in excess of 1340 fires for Origin & Cause as of January 1, 2020
             Total number of fire scenes investigated since 1976 is approximately 6650
             Retired Fire Marshal, Pennsylvania State Police Troop “R”, Dunmore, after serving for over 15
              years as Fire Marshal.

                                                      Regional Offices:
                              New Jersey ~ Maryland ~ Pennsylvania ~ Delaware ~ New York ~ Texas
                                 North Carolina ~ Rhode Island ~ Florida ~ California ~ Georgia
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       Certified Fire Investigator(CFI) - National Association of Fire Investigators – 1997
       Mr. Profka has been qualified as an expert and has testified in the United States District Court,
        The Courts of Common Pleas and in several Northeastern Pennsylvania Counties, as well as
        several State Appellate courts, as to Fire Cause and Origin.
       Certified Fire Investigator by IAAI Exam - August 1989
       Pennsylvania State Police Academy, Hershey, PA Building Construction and Damage (32
        hours) -
       August 1989
       Pennsylvania State Police Academy, Hershey, PA Arson Investigation and Reporting (32
        hours) Kenesic Interviews (4 hours) - April 1989
       Penn State University, State College, PA Kinetic Interviewing sponsored by PAAI (8 hours) -
        June 1988
       University of Delaware, Wilmington, DE Electrical Fires (8 hours) - April 1988
       Marywood College, Scranton, PA Explosive Devices (8 hours) - March 1987
       Penn State University, State College, PA Arson Investigation sponsored by PAAI (32 hours) -
        June 1986
       Pennsylvania State Police Academy, Hershey, PA Electric Fires (16 hours) -
       April 1986
       Pennsylvania State Police Academy, Hershey, PA Arson Investigation (32 hours) - September
        1985
       Pennsylvania State Police Academy, Hershey, PA Arson Investigation (32 hours) - October
        1983
       Pennsylvania State Police Academy, Hershey, PA Arson/Fire Investigation (32 hours) -
        September 1982
       Penn State University, State College, PA Arson Investigation sponsored by PIAAI (32 hours) -
        June 1982
       Penn State Campus, Scranton, PA FBI Sponsored Arson Detection (8 hours) - May 1989
       Pennsylvania State Police Academy, Hershey, PA Arson Investigation (40 hours) - April 1980
       Pennsylvania State Police Academy, Hershey, PA Financial Investigative Techniques, IRS
        Instructors (40 hours) - July 1979
       York Junior College, York, PA Arson Investigation/PAAI sponsored (40 hours) - June 1979
       Yale University, New Haven, Connecticut Arson Investigation/National Fire Academy
        Instructors (80 hours) - March 1979
       Pennsylvania Association of County Detectives, Scranton, PA Arson Detection/Prosecution (8
        hours) - February 1979
       Pennsylvania State Police Academy, Hershey, PA Arson Investigation (40 hours) - May 1978
       Rutgers University, New Brunswick, NJ Arson Investigation (40 hours) - June 1977
       Pennsylvania State Police Academy, Hershey, PA Arson/Fire Investigation (40 hours) -
        February 1977
       State Fire School, Lewistown, PA Arson Investigation (24 hours) - April 1976


LECTURES AND PRESENTATIONS

   Radisson Hotel, Scranton, PA & Wilkes-Barre, PA Arson/Fraud - January 1998




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   Lackawanna Junior College, Scranton, PA Mandatory Training for Municipal Police (40 hours) –
    October 1991
   Lackawanna Junior College, Scranton, PA Mandatory Training for Municipal Police (40 hours) -
    January 1992
   Lackawanna Junior College, Scranton, PA Mandatory Training for Municipal Police (40 hours) -
    September 1992
   Lackawanna Junior College, Scranton, PA Mandatory Training for Municipal Police (40 hours) -
    June 1993
   Lackawanna Junior College, Scranton, PA Mandatory Training for Municipal Police (80 hours) -
    October 1993
   Lackawanna Junior College, Scranton, PA Mandatory Training for Municipal Police (30 hours
    each class, 2 classes per year) - February 1994 to Present
    PA State Fire Academy, Lewistown, PA Fire and Arson Investigation (40 hours) - May 1993
   PA State Fire Academy, Lewistown, PA Fire and Arson Investigation (40 hours) - May 1992
   PA State Fire Academy, Lewistown, PA Fire and Arson Investigation (40 hours) - September 1991
   University of Scranton, Scranton, PA Arson Detection/Recognition (16 hours) - April 1989
   Pennsylvania State Police Academy, Hershey, PA Develop new report for arson/fire investigations
    - February 1989
   Northeast Volunteer Firemen, Nicholson, PA Arson Detection (16 hours) - June 1988
   Pennsylvania State Police Academy, Hershey, PA Arson & Hazardous Materials (16 hours) - April
    1988
   Penn State Campus, Mechanicsburg, PA Arson/Fraudulent Insurance Claims - May 1987
   Northeast Training Center, State Policy Wyoming, PA Arson Recognition (4 hours)- March 1987
   Northeast Training Center, State Police, Wyoming, PA Arson Recognition (4 hours) - June 1986
   National Fire Academy, Emmetsburg, MD Arson Detection (40 hours) - March 1983
   Northeast Volunteer Firemen, Fleetville, PA Arson Detection (16 hours) - June 1982
   Wayne County Volunteer Firemen, Honesdale, PA Arson Detection (8 hours) - April 1982
   Pike County Volunteer Firemen, Blooming Grove, PA Arson Detection (16 hours) - October 1981
    Pennsylvania State Police Academy, Hershey, PA Arson Case Review (4 hours) - October 1981
   Northeaset Volunteer Firemen Nicholson, PA Arson Detection (16 hours) - June 1981
   Lackawanna Junior College, Scranton, PA Arson Detection (40 hours) - October 1980
   White Mills Fire Company, White Mills, PA Arson Detection/Recognition (16 hours) - May 1980
   Commission on Crime & Delinquency, Scranton, PA Arson and Juveniles (16 hours) - October
    1979
    Pennsylvania State Police Academy, Hershey, PA Arson/Case Discussion (8 hours) - June 1979
   Scranton Fire/Police Departments, Scranton, PA Arson Investigation (24 hours) - May 1977


EDUCATION

       Penn State Extension, Wyomissing, PA 20 credit hours in Criminal Justice 1964-1968
       PA State Police Academy, Hershey, PA Promoted to Trooper and assigned to Troop L,
        Reading, PA - 1964
       Keystone Jr. College La Plume, Pennsylvania 120 Credit hours in Liberal Arts 1956- 1958
       High School Diploma – Central High School – 1956



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PROFESSIONAL ASSOCIATIONS

     Pennsylvania Association of Arson Investigators (PAAI) Charter member and former Board
      Director
     Fraternal Order of Police (FOP) John Hancock Lodge, Dunmore, PA
     International Association of Arson Investigators (IAAI)




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